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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                     :
UNITED STATES OF AMERICA
                                     :

     v.                              : Criminal Case No. DKC 10-0051

                                     :
TOUMANI TOURAY THOMAS
                                     :

              ORDER ON MOTION FOR SENTENCE REDUCTION
     UNDER 18 U.S.C. § 3582(C)(1)(A) (Compassionate Release)

     Upon consideration of the motion filed by the Defendant

Toumani Touray Thomas for a reduction in sentence under 18 U.S.C.

§ 3582(c)(1)(A), and after considering the applicable factors

provided   in   18   U.S.C.   §   3553(a)   and   the   applicable    policy

statements issued by the Sentencing Commission, it is this 17th day

of December, 2020, ORDERED that:

     1.    The motion for compassionate release filed by Defendant

Toumani Touray Thomas (ECF No. 36) BE, and the same hereby IS,

GRANTED after complete review of the motion on the merits;

     2.    The motions to seal (ECF Nos. 37, 42, 46, and 49) BE,

and the same hereby ARE, GRANTED because the personal information

contained in the submissions should remain confidential except as

recited herein;

     3.    Mr. Thomas was convicted in this court of attempted

interference with commerce by robbery and discharge of a firearm

in furtherance of the attempted robbery and sentenced to 183 months
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on October 14, 2010.       He was on supervised release at the time of

these offenses and received a 24-month consecutive sentence from

the United States District Court for the District of Columbia as

a result.    His total sentence, then, is 207 months, or 17 years 3

months.     His projected release date is June 4, 2023, with home

detention    eligibility    as   of   December     4,   2022.        He   has   been

incarcerated continuously since October 16, 2009 (the date of this

offense) although he received credit for a few prior periods in

2007, 2008, and earlier in 2009, presumably arising from the

offense for which he was on supervised release.

     The seriousness of the offense conduct and his criminal

history are manifest and the initial sentence well deserved.                    His

medical condition, the current COVID-19 public health situation,

his conduct while in prison, and the changes in criminal law and

sentencing    jurisprudence,     however,     counsel     in    favor     of    some

sentence reduction.        The goals of punishment, deterrence, and

protecting the public have already been met for the portion of the

sentence imposed in this case, and the progress Mr. Thomas has

made augurs well for the future.           It is appropriate to reduce the

sentence in this case to 160 months;

     4.      The   defendant’s   sentence     is   reduced      to    160   months

imprisonment. If this reduction results in a time-served sentence,
                                       2
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this Order is stayed for up to fourteen days, for the verification

of the defendant’s residence and/or establishment of a release

plan, to make appropriate travel arrangements, and to ensure the

defendant’s safe release.         The defendant shall be released as soon

as   a    residence   is   verified,   a   release   plan   is   established,

appropriate travel arrangements are made, and it is safe for the

defendant to travel.        There shall be no delay in ensuring travel

arrangements are made.        If more than fourteen days are needed to

make appropriate travel arrangements and ensure the defendant’s

safe release, the parties shall immediately notify the court and

show cause why the stay should be extended;

         5.   The   defendant’s     previously    imposed    conditions    of

supervised release are unchanged;

         6.   The motion for home incarceration pending a decision on

the motion to vacate (ECF No. 31) BE, and the same hereby IS,

DENIED as unauthorized in part and DENIED as moot in part; and

         7.   The Clerk IS DIRECTED to transmit a copy of this Order

to counsel of record.



                                               /s/
                                     DEBORAH K. CHASANOW
                                     United States District Judge



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